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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
             Plaintiff,       )
                              )
    vs.                       )                                 8:08CR151
                              )
OSCAR COLMENARES-GONZALEZ and )                                   ORDER
COLMENARES RODRIGUEZ INC.,    )
                              )
             Defendants.      )


       This matter is before the court on the defendants' fifth motion to continue trial (Doc.
104). Defendant has filed an updated affidavit or declaration regarding speedy trial, as
required by NECrimR 12.1 and/or 12.3. For good cause shown, trial will be continued to
May 12, 2009.

        IT IS ORDERED that the motion is granted, as follows:

        1.   The jury trial now set for March 17, 2009 is continued to Tuesday, May 12,
2009.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between March 17, 2009 and May 12, 2009, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act due to defense counsel's medical condition and because counsel require
additional time to adequately prepare the case, taking into consideration due diligence of
counsel and the novelty and complexity of this case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).

        DATED March 6, 2009.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
